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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   EVANSVILLE DIVISION


  UNITED STATES OF AMERICA,                      )
                                                 )
                          Plaintiff,             )
                                                 )
           v.                                    )
                                                 )      Cause No. 3:02-CR-00002-RLY-CMM
  JOSE VIGIL,                                    )                         -16
                                                 )
                          Defendant.             )

                                  ORDER TO REDUCE TERM
                             OF IMPRISONMENT TO TIME SERVED

           BEFORE THE COURT is a motion filed by the United States of America and the

  Acting Director of the Federal Bureau of Prisons pursuant to 18 U.S.C. § 3582(c)(1)(A)(i),

  seeking a modification of the term of imprisonment of the defendant, Jose Vigil, to time served

  and commencement of the five-year term of supervised release previously imposed. The Court

  finds:

           1. Defendant, Jose Vigil, was convicted of violating 21 U.S.C. §§ 841(a)(1) and 846,

  Conspiracy to Possess with Intent to Distribute and to Distribute in Excess of 500 Grams of a

  Mixture or Substance Containing Methamphetamine. Mr. Vigil was sentenced to a 324-month

  term of imprisonment, followed by a five-year term of supervised release.

           2. He has served 165 months (51 percent) of the sentence imposed. His Good Conduct

  release date is April 29, 2026.

           3. Mr. Vigil, age 41, is experiencing a significant decline in his physical and mental

  health functioning. He uses a wheelchair for ambulation, requires assistance with most of his

  activities of daily living (ADL), and is confined to a bed or chair more than 50 percent of his
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  waking hours.

         4. Title 18 U.S.C. § 3582(c)(1)(A)(i) authorizes the Court, upon motion of the Director

  of the Bureau of Prisons, to modify a term of imprisonment upon the finding that extraordinary

  and compelling reasons warrant the reduction. The Acting Director of the Bureau of Prisons

  contends, and this Court agrees, that the defendant's debilitated and deteriorating medical

  condition constitutes extraordinary and compelling reasons that warrant the requested reduction.

         IT IS THEREFORE ORDERED that the defendant's term of imprisonment is hereby

  reduced to the time he has already served.

         IT IS FURTHER ORDERED that the defendant shall be released from the custody of

  the Federal Bureau of Prisons as soon as his medical condition permits, the release plan is

  implemented, and travel arrangements can be made.

         IT IS FURTHER ORDERED that upon his release from the custody of the Federal

  Bureau of Prisons, the defendant shall begin serving the five-year term of supervised release

  previously imposed.


         DONE AND ORDERED THIS 21ST DAY OF JULY 2016.




                                              __________________________________
                                        _______________________________________
                                              RICHARD L. YOUNG, CHIEF JUDGE
                                        Richard L. Young
                                              United States District Court
                                        UNITED STATES DISTRICT JUDGE
                                              Southern District of Indiana




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